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Matthew L. Lalli (6105)
Jeremy J. Stewart (12247)
Sarah A. Hafen (16466)
SNELL & WILMER L.L.P.
15 West South Temple, Suite 1200
Salt Lake City, Utah 84101-1004
Telephone: (801) 257-1900
Facsimile: (801) 257-1800
mlalli@swlaw.com
jjstewart@swlaw.com
sahafen@swlaw.com

Paul. J. Reilly (Admitted Pro Hac Vice)
David Tobin (Admitted Pro Hac Vice)
Susan Kennedy (pro hac vice pending)
BAKER BOTTS L.L.P.
2001 Ross Avenue, Suite 900
Dallas, Texas 75201-2980
Telephone: (214) 953-6869
Facsimile: (214) 661-4869
Paul.Reilly@BakerBotts.com
David.Tobin@BakerBotts.com
Susan.Kennedy@BakerBotts.com

     Attorneys for Plaintiff Cricut, Inc.


                              UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION

CRICUT, INC., a Delaware corporation,
                                                      EXHIBITS A AND B
                  Plaintiff,                         TO THE COMPLAINT

v.                                                 Case No. 2:21-cv-00601-DBB

ENOUGH FOR EVERYONE, INC., a Nevada                    Judge David Barlow
corporation, and DESIRÉE TANNER, an
individual,

                  Defendants.
